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                        IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  Zurich American Insurance Company

                                        Plaintiff, Civil Action No.: 1:22-cv-01535

         vs.

  Asphalt Paving Systems, Inc.

                                     Defendant,


  CERTIFICATION OF STEPHEN BAKER, ESQUIRE IN SUPPORT OF APPLICATION
       FOR PRO HAC VICE ADMISSION OF STEPHEN C. BAKER, ESQUIRE

    I, Stephen C. Baker submit this Certification in support of Defendant’s application for pro hac

 vice admission in the above-captioned matter, and hereby certify as follows:

    1. I am an attorney-at-law in the Commonwealth of Pennsylvania and am a Senior Partner in

        the law firm Myers, Brier & Kelly, LLP, located at 585 East Swedesford Road, Suite 102,

        Wayne, Pennsylvania 19087.

    2. I was admitted to practice before the Bar of the Commonwealth of Pennsylvania in
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